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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

SCOTT T. WELDON and
ANDREA R. FIELDS,

Defendants                                                No. 10-30066-DRH


                                      ORDER

HERNDON, Chief Judge:

             Pending before the Court is Defendant Fields’ June 17, 2010 motion to

continue (Doc. 27). Specifically, Fields moves the Court to continue the previously

scheduled trial date of June 22, 2010. On June 14, 2010, the Court granted

Defendant Weldon’s motion to continue and continued the trial to August 23, 2010

as to both Defendants (Doc. 26). Thus, the Court DENIES as moot Fields’ June 17,

2010 motion to continue. (Doc. 27).

             IT IS SO ORDERED.

             Signed this 29th day of June, 2010.

                                                    /s/ DavidRHer|do|
                                                   Chief Judge
                                                   United States District Court
